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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

    STATE OF TEXAS, et al.,     §
                                §
         Plaintiffs,            §
                                §
      v.                        §                    No. 3:23-cv-17 (consolidated
                                §                    with No. 3:23-cv-20)
                                §
    UNITED STATES ENVIRONMENTAL §
    PROTECTION AGENCY, et al.,  §
                                §
         Defendants,            §
                                §
    BAYOU CITY WATERKEEPER,     §
                                §
         Intervenor-Defendant.  §


                     ANSWER TO FIRST AMENDED COMPLAINT

         Defendants U.S. Environmental Protection Agency (“EPA”), Michael S. Regan, in

his official capacity as Administrator of EPA, U.S. Army Corps of Engineers (the

“Corps”),1 Lieutenant General Scott A. Spellmon, in his official capacity as Chief of

Engineers and Commanding General of the Corps, and Michael L. Connor, in his official

capacity as Assistant Secretary of the Army (Civil Works) answer the First Amended

Complaint (“Complaint”) filed by Plaintiffs State of Texas, State of Idaho, Texas

Commission on Environmental Quality, Railroad Commission of Texas, Texas




1
    EPA and the Corps are referred to collectively herein as the “Agencies.”



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Department of Agriculture, Texas General Land Office, and Texas Department of

Transportation, ECF No. 32.2

      The allegations in the unnumbered paragraph beginning on page 1 of the Complaint

characterize Plaintiffs’ Complaint and require no response. The allegations in this

unnumbered paragraph also state legal conclusions to which no response is required. To

the extent a response is required, Defendants deny the allegations. Defendants admit that

Plaintiffs have filed the Complaint in the above-captioned consolidated proceeding.

                                    INTRODUCTION

1.    The allegations in the first clause of the first sentence of paragraph 1 characterize

      Plaintiffs’ Complaint and require no response. To the extent a response is required,

      Defendants deny the allegations. Defendants admit the allegations in the second

      clause of the first sentence in paragraph 1, but only to the extent that the Agencies

      promulgated the rule referenced therein. Defendants admit the allegations in the

      second and fourth sentence of paragraph 1. In response to the third sentence and the

      citation following the fourth sentence of paragraph 1, on information and belief,

      Defendants admit that Plaintiffs appear to have attached the published versions of

      the final rule entitled “Revised Definition of ‘Waters of the United States’,” 88 Fed.




2
  Topic headings are from the Complaint and incorporated here solely for ease of
reference. Their use does not constitute any admission by the Agencies. The headings and
subheadings within the Complaint do not contain allegations that require a response. To
the extent a response is required, the allegations contained in the headings and subheadings
are denied.

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      Reg. 3004 (Jan. 18, 2023) (the “Final Rule”) and the proposed rule, 86 Fed. Reg.

      69372 (Dec. 7, 2021) (the “Proposed Rule”).3

2.    The allegations in the first and second sentences of paragraph 2 characterize the

      Clean Water Act (“CWA” or “Act”), which speaks for itself and is the best

      evidence of its contents. To the extent the allegations are inconsistent with the

      CWA, Defendants deny the allegations. The allegations in the third sentence of

      paragraph 2 constitute legal conclusions, to which no response is required. To the

      extent a response is required, Defendants deny the allegations.

3.    The allegations in the first sentence of paragraph 3 characterize Plaintiffs’

      Complaint and require no response. To the extent a response is required,

      Defendants deny the allegations. Defendants deny the allegations in the second

      sentence of paragraph 3.

                                     THE PARTIES

      A.     Plaintiffs.

4.    The allegations in paragraph 4 characterize Plaintiff the State of Texas’s Complaint

      and require no response. To the extent a response is required, Defendants deny the

      allegations.

5.    The allegations in the first sentence of paragraph 5 characterize Plaintiff Texas

      Commission on Environmental Quality, and Defendants lack knowledge or

3
 The Complaint contains several sentences that solely contain citations. Because such
sentences require no response, Defendants do not count those sentences when referring to
sequential sentences within the Complaint.


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      information sufficient to form a belief as to the truth of such allegations and

      therefore deny the allegations. On information and belief, Defendants generally

      admit the allegations in the second and third sentences of paragraph 5, but deny to

      the extent the phrase “for decades” in the second sentence is vague and ambiguous.

6.    The allegations in the first and third sentences of paragraph 6 characterize Plaintiff

      Railroad Commission of Texas, and Defendants lack knowledge or information

      sufficient to form a belief as to the truth of such allegations and therefore deny the

      allegations. The allegations in the second sentence of paragraph 6 are vague and

      ambiguous and on that basis, Defendants deny the allegations. On information and

      belief, Defendants admit the allegations in the fourth sentence of paragraph 6.

7.    The allegations in the first sentence of paragraph 7 characterize Plaintiff Texas

      Department of Agriculture, and Defendants lack knowledge or information

      sufficient to form a belief as to the truth of such allegations and therefore deny the

      allegations. On information and belief, Defendants admit the allegations in the

      second sentence of paragraph 7.

8.    The allegations in paragraph 8 characterize Plaintiff Texas General Land Office,

      and Defendants lack knowledge or information sufficient to form a belief as to the

      truth of such allegations and therefore deny the allegations.

9.    The allegations in the first and second sentences of paragraph 9 characterize

      Plaintiff Texas Department of Transportation, and Defendants lack knowledge or

      information sufficient to form a belief as to the truth of such allegations and

      therefore deny the allegations. On information and belief, Defendants admit the

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       allegations in the third sentence of paragraph 9. Paragraph 9 also contains citations

       to state statutory provisions, which speak for themselves and are the best evidence

       of their contents. To the extent the allegations are inconsistent with these

       provisions, Defendants deny the allegations.

10.    The allegations in the first sentence of paragraph 10 characterize Plaintiff the State

       of Idaho’s Complaint and require no response. To the extent a response is required,

       Defendants lack knowledge or information sufficient to form a belief as to the truth

       of such allegations and therefore deny the allegations. On information and belief,

       Defendants admit the allegations in the second sentence of paragraph 10.

11.    On information and belief, Defendants admit the allegations in the first sentence of

       paragraph 11 to the extent that Idaho Department of Environmental Quality has

       delegated authority to administer the National Pollutant Discharge Elimination

       System program in Idaho. Defendants, on information and belief, admit the

       allegations in the second sentence of paragraph 11.

12.    The allegations in paragraph 12 characterize Idaho Department of Lands, and

       Defendants lack knowledge or information sufficient to form a belief as to the truth

       of such allegations and therefore deny the allegations. Paragraph 12 also contains

       citations to state constitutional provisions, which speak for themselves and are the

       best evidence of their contents. To the extent the allegations are inconsistent with

       these provisions, Defendants deny the allegations.




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13.    The allegations in paragraph 13 characterize Idaho State Department of Agriculture,

       and Defendants lack knowledge or information sufficient to form a belief as to the

       truth of such allegations and therefore deny the allegations.

14.    The allegations in paragraph 14 characterize Idaho Department of Transportation,

       and Defendants lack knowledge or information sufficient to form a belief as to the

       truth of such allegations and therefore deny the allegations. Paragraph 14 also

       contains citations to state statutory provisions, which speak for themselves and are

       the best evidence of their contents. To the extent the allegations are inconsistent

       with these provisions, Defendants deny the allegations.

       B.     Defendants.

15.    The allegations in paragraph 15 state legal conclusions that require no response. To

       the extent a response is required, Defendants admit that EPA is a federal agency of

       the United States and that EPA administers provisions of the CWA.

16.    Defendants admit the allegations in paragraph 16.

17.    The allegations in paragraph 17 state legal conclusions that require no response. To

       the extent a response is required, Defendants admit that the Corps is a subordinate

       command of the United States Department of the Army and that the Corps

       administers certain provisions of the CWA.

18.    Defendants admit the allegations in paragraph 18.

19.    Defendants admit the allegations in paragraph 19.




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                             JURISDICTION AND VENUE

20.    The allegations in paragraph 20 state legal conclusions that require no response. To

       the extent a response is required, Defendants deny the allegations.

21.    The allegations in paragraph 21 state legal conclusions that require no response. To

       the extent a response is required, Defendants admit that venue is proper should the

       Court find that jurisdiction is proper. Otherwise, Defendants deny the allegations.

                                     BACKGROUND

       A.     The CWA recognizes the States’ authority over land and water within
              its borders.

22.    The allegations in paragraph 22 characterize the CWA, which speaks for itself and

       is the best evidence of its contents. To the extent the allegations are inconsistent

       with the Act, Defendants deny the allegations.

23.    The allegations in paragraph 23 characterize the CWA, which speaks for itself and

       is the best evidence of its contents. To the extent the allegations are inconsistent

       with the Act, Defendants deny the allegations.

24.    The allegations in the first sentence of paragraph 24 are vague, overbroad, and

       purport to treat all permit applications the same; therefore, Defendants lack

       knowledge or information sufficient to form a belief as to the truth of such

       allegations and therefore deny the allegations. The allegations in the second

       through fourth sentences of paragraph 24 are vague and ambiguous and Defendants

       lack knowledge or information sufficient to form a belief as to the truth of such

       allegations and therefore deny the allegations.



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       B.     The meaning of “waters of the United States” has been examined, and
              reexamined, by the Supreme Court.

25.    The allegations in paragraph 25 characterize The Daniel Ball, 77 U.S. 557 (10 Wall.

       557) (1871), a Supreme Court case which speaks for itself and is the best evidence

       of its contents. To the extent the allegations are inconsistent with that case,

       Defendants deny the allegations.

26.    The allegations in paragraph 26 characterize 33 C.F.R. § 209.120(d)(1) (1974), a

       federal regulation which speaks for itself and is the best evidence of its contents.

       To the extent the allegations are inconsistent with the regulation, Defendants deny

       the allegations.

27.    The allegations in paragraph 27 characterize a rule entitled “Final Rule for

       Regulatory Programs of the Corps of Engineers,” 51 Fed. Reg. 41206 (Nov. 13,

       1986), which speaks for itself and is the best evidence of its contents. To the extent

       the allegations are inconsistent with the rule, Defendants deny the allegations.

28.    The allegations in paragraph 28 characterize United States v. Riverside Bayview

       Homes, Inc., 474 U.S. 121 (1985), a Supreme Court case which speaks for itself and

       is the best evidence of its contents. To the extent the allegations are inconsistent

       with that case, Defendants deny the allegations.

29.    The allegations in paragraph 29 characterize Solid Waste Agency of Northern Cook

       County v. Army Corps of Engineers, 531 U.S. 159 (2001) (“SWANCC”), a Supreme

       Court case which speaks for itself and is the best evidence of its contents. To the




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       extent the allegations are inconsistent with that case, Defendants deny the

       allegations.

30.    The allegations in paragraph 30 characterize Rapanos v. United States, 547 U.S.

       715 (2006), a Supreme Court case which speaks for itself and is the best evidence of

       its contents. To the extent the allegations are inconsistent with that case,

       Defendants deny the allegations.

31.    The allegations in paragraph 31 characterize Rapanos, 547 U.S. 715, which speaks

       for itself and is the best evidence of its contents. To the extent the allegations are

       inconsistent with that case, Defendants deny the allegations.

32.    Defendants admit that the Supreme Court heard oral argument in Sackett v. EPA,

       Case No. 21-454, on October 3, 2022. To the extent the allegations in paragraph 32

       and footnote 1 characterize that Supreme Court case or any of the underlying cases,

       including Sackett v. EPA, 8 F.4th 1075 (9th Cir. 2021) (along with the facts of these

       cases), these cases speak for themselves and are the best evidence of their contents.

       To the extent the allegations are inconsistent with these cases, Defendants deny the

       allegations. Defendants deny the remaining allegations in paragraph 32, including

       Plaintiffs’ characterization of the question before the Supreme Court, and the

       allegations in the first sentence of footnote 1.

       C.     The modern attempts (and failures) of the Agencies to define “waters of
              the United States.”

33.    Defendants deny the allegations in paragraph 33. The allegations in footnote 2 are

       vague and ambiguous and on those grounds, Defendants deny the allegations.



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34.     Defendants deny the allegations in the first sentence of paragraph 34 because the

        2015 Rule referenced therein, 80 Fed. Reg. 37054 (June 29, 2015) (“2015 Rule”),

        was a final rule, not a proposed rule. The allegations in the second through fourth

        sentences of paragraph 34 characterize the 2015 Rule and three judicial opinions,

        Texas v. EPA, No. 3:15-CV-00162, 2018 WL 4518230 (S.D. Tex. Sept. 12, 2018)

        (preliminary injunction), Texas v. EPA, 389 F. Supp. 3d 497 (S.D. Tex. 2019)

        (summary judgment), and Georgia v. Wheeler, 418 F. Supp. 3d 1336 (S.D. Ga.

        2019) (summary judgment), all of which speak for themselves and are the best

        evidence of their contents. To the extent the allegations are inconsistent with these

        legal authorities, Defendants deny the allegations, including the allegation that the

        2015 Rule “was vacated.” Defendants deny the allegations in the fifth sentence of

        paragraph 34.

35.     Defendants generally admit the allegations in the first sentence of paragraph 35.

        The remaining allegations in paragraph 35 characterize the Navigable Waters

        Protection Rule, 85 Fed. Reg. 22250 (Apr. 21, 2020) (“2020 Rule”), and two cases,

        Colorado v. EPA, 989 F.3d 874 (10th Cir. 2021) and Pascua Yaqui Tribe v. EPA,

        557 F. Supp. 3d 949 (D. Ariz. 2021), appeal dismissed, No. 21-16791, 2022 WL

        1259088 (9th Cir. Feb. 3, 2022), all of which speak for themselves and are the best

        evidence of their contents. To the extent the allegations are inconsistent with these

        legal authorities, Defendants deny the allegations.




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        D. The Final Rule exceeds the scope of jurisdiction contemplated in the CWA.

36.     The allegations in paragraph 36 (including subparts A through E) characterize the

        Final Rule, which speaks for itself and is the best evidence of its contents. To the

        extent the allegations are inconsistent with the Final Rule, Defendants deny the

        allegations.

               i.      Traditional Waters.

37.     The allegations in paragraph 37 state legal conclusions and characterize the Final

        Rule, which speaks for itself and is the best evidence of its contents. To the extent a

        response is required, Defendants deny Plaintiffs’ legal conclusions and deny the

        allegations to the extent they are inconsistent with the Final Rule.

38.     The allegations in paragraph 38 state legal conclusions and characterize the Final

        Rule, which speaks for itself and is the best evidence of its contents. To the extent a

        response is required, Defendants deny Plaintiffs’ legal conclusions and deny the

        allegations to the extent they are inconsistent with the Final Rule.

39.     Defendants deny the allegations in the first and second sentences of paragraph 39.

        The allegations in footnote 3 state legal conclusions and characterize the Final Rule,

        which speaks for itself and is the best evidence of its contents. To the extent a

        response is required, Defendants deny Plaintiffs’ legal conclusions and deny the

        allegations to the extent they are inconsistent with the Final Rule.




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               ii.    Jurisdictional Impoundments.

40.     The allegations in paragraph 40 and footnote 4 characterize the Final Rule, which

        speaks for itself and is the best evidence of its contents. To the extent the

        allegations are inconsistent with the Final Rule, Defendants deny the allegations.

41.     Defendants deny the allegation in the first clause of the first sentence of paragraph

        41. The remaining allegations in the first three sentences of paragraph 41

        characterize the Final Rule, which speaks for itself and is the best evidence of its

        contents. To the extent the allegations are inconsistent with the Final Rule,

        Defendants deny the allegations. The allegations in the fourth sentence of

        paragraph 41 state legal conclusions that require no response. To the extent a

        response is required, Defendants deny the allegations. Defendants deny the

        allegations in the fifth sentence of paragraph 41.

42.     The allegations in the first and second sentences of paragraph 42 characterize the

        Final Rule, which speaks for itself and is the best evidence of its contents. To the

        extent the allegations are inconsistent with the Final Rule, Defendants deny the

        allegations. Defendants deny the allegations in the third sentence of paragraph 42.

               iii.   Jurisdictional Tributaries.

43.     The allegations in paragraph 43 characterize the Final Rule, which speaks for itself

        and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the Final Rule, Defendants deny the allegations. Defendants deny

        the allegations in footnote 5.




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44.     Defendants deny the allegations in the second clause of the first sentence of

        paragraph 44, the first clause of the third sentence of paragraph 44, and the first

        clause of footnote 6. The remaining allegations in paragraph 44 and footnote 6

        characterize the Final Rule, which speaks for itself and is the best evidence of its

        contents. To the extent the allegations are inconsistent with the Final Rule,

        Defendants deny the allegations.

               iv.     Jurisdictional Wetlands.

45.     The allegations in paragraph 45 characterize the Final Rule, which speaks for itself

        and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the Final Rule, Defendants deny the allegations.

46.     Defendants deny the allegations in the second clause of the third sentence of

        paragraph 46. The remaining allegations in paragraph 46 characterize the Final

        Rule, which speaks for itself and is the best evidence of its contents. To the extent

        the allegations are inconsistent with the Final Rule, Defendants deny the

        allegations.

47.     Defendants deny the allegations in the first two clauses of paragraph 47. The

        remaining allegations in paragraph 47 (including subparts A through C) characterize

        the Final Rule, which speaks for itself and is the best evidence of its contents. To

        the extent the allegations are inconsistent with the Final Rule, Defendants deny the

        allegations.

48.     Defendants deny the allegations in the first clause of the first sentence of paragraph

        48. The remaining allegations in paragraph 48 characterize the Final Rule, which

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        speaks for itself and is the best evidence of its contents. To the extent the

        allegations are inconsistent with the Final Rule, Defendants deny the allegations.

49.     Defendants deny the allegations in the first clause of the second sentence and deny

        the allegations in third sentence of paragraph 49. The remaining allegations in

        paragraph 49 characterize the Final Rule, which speaks for itself and is the best

        evidence of its contents. To the extent the allegations are inconsistent with the

        Final Rule, Defendants deny the allegations.

50.     Defendants deny the allegations in the first clause of the first sentence and deny the

        allegations in the second sentence of paragraph 50. The remaining allegations in

        the first sentence of paragraph 50 characterize the Final Rule, which speaks for

        itself and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the Final Rule, Defendants deny the allegations.

               v.      Other Jurisdictional Intrastate Waters.

51.     Defendants deny Plaintiffs’ specific characterization of the Final Rule in the first

        sentence of paragraph 51. The remaining allegations in paragraph 51 characterize

        the Final Rule, which speaks for itself and is the best evidence of its contents. To

        the extent the allegations are inconsistent with the Final Rule, Defendants deny the

        allegations.

52.     Defendants deny Plaintiffs’ specific characterization of the Final Rule in the first

        sentence of paragraph 52 and deny the allegations in the second sentence of

        paragraph 52. The remaining allegations in paragraph 52 characterize the Final

        Rule, which speaks for itself and is the best evidence of its contents. To the extent

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        the allegations are inconsistent with the Final Rule, Defendants deny the

        allegations.

               vi.     The Relatively Permanent and Significant Nexus Standards.

53.     Defendants deny the allegations in paragraph 53.

54.     The allegations in the first two sentences of paragraph 54 characterize the Final

        Rule, which speaks for itself and is the best evidence of its contents. To the extent

        the allegations are inconsistent with the Final Rule, Defendants deny the

        allegations. Defendants deny the allegations in the first clause of the third sentence.

        The allegations in the second clause of the third sentence characterize the Final

        Rule, which speaks for itself and is the best evidence of its contents. To the extent

        the allegations are inconsistent with the Final Rule, Defendants deny the

        allegations. The allegations in the fourth sentence state legal conclusions that

        requires no response. To the extent a response is required, Defendants deny the

        allegations.

55.     The allegations in paragraph 55 characterize the Final Rule, which speaks for itself

        and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the Final Rule, Defendants deny the allegations.

56.     The allegations in paragraph 56 characterize the Final Rule, which speaks for itself

        and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the Final Rule, Defendants deny the allegations.




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57.     The allegations in paragraph 57 and footnotes 7 and 8 characterize the Final Rule,

        which speaks for itself and is the best evidence of its contents. To the extent the

        allegations are inconsistent with the Final Rule, Defendants deny the allegations.

58.     Defendants deny the allegations in the second clause of the first sentence of

        paragraph 58. The remaining allegations in paragraph 58 and footnotes 9, 10, and

        11 characterize portions of the opinions in Rapanos v. United States, 547 U.S. 715

        (2006), a Supreme Court case which speaks for itself and is the best evidence of its

        contents. To the extent the allegations are inconsistent with that case, Defendants

        deny the allegations.

        F. The Final Rule harms Texas, Idaho, and their agencies.

59.     Defendants deny the allegations in paragraph 59.

60.     Defendants deny the allegations in the first and third sentences of paragraph 60.

        The allegations in the second sentence of paragraph 60 characterize the Tenth

        Amendment of the U.S. Constitution and Hess v. Port Authority Trans-Hudson

        Corp., 513 U.S. 30 (1994), which speak for themselves and are the best evidence of

        their contents. To the extent the allegations are inconsistent with these legal

        authorities, Defendants deny the allegations.

61.     Defendants deny the allegations in paragraph 61.

62.     Defendants deny the allegations in paragraph 62.

63.     Defendants lack knowledge or information sufficient to form a belief as to any

        projects where permits would be required where they were previously unnecessary,




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        and therefore deny the allegations in the first clause of paragraph 63. Defendants

        deny the remaining allegations in paragraph 63.

64.     Defendants lack knowledge or information sufficient to form a belief as to the truth

        of the allegations set forth in the first sentence of paragraph 64 and therefore deny

        the allegations. Defendants deny the allegations in the second and third sentences

        of paragraph 64.

65.     Defendants lack knowledge or information sufficient to form a belief as to the truth

        of the allegations in the first and second sentences of paragraph 65 and therefore

        deny the allegations. Defendants deny the allegations in the third sentence of

        paragraph 65.

                                   CLAIMS FOR RELIEF

66.     Defendants deny the allegations in paragraph 66.

        A.     Claim One: The Final Rule is arbitrary, capricious, an abuse of
               discretion, or otherwise not in accordance with the law, in violation of
               the APA.

67.     Defendants re-state and incorporate by reference its responses set forth in all

        preceding paragraphs as if set forth in full herein.

68.     The allegations in paragraph 68 characterize 5 U.S.C. § 706(2)(A), which speaks for

        itself and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the statutory provision, Defendants deny the allegations.

69.     The allegations in the first clause of paragraph 69 characterize the CWA, which

        speaks for itself and is the best evidence of its contents. Defendants deny those




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        allegations to the extent they are inconsistent with the CWA, and deny the

        remaining allegations in paragraph 69.

70.     Defendants deny the allegations in paragraph 70.

        B.     Claim Two: The Final Rule is in excess of the Federal Agencies’
               statutory authority, in violation of the APA.

71.     Defendants re-state and incorporate by reference its responses set forth in all

        preceding paragraphs as if set forth in full herein.

72.     The allegations in paragraph 72 characterize 5 U.S.C. § 706(2)(C), which speaks for

        itself and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the statutory provision, Defendants deny the allegations.

73.     Defendants deny the allegations in paragraph 73.

74.     Defendants deny the allegations in the first sentence of paragraph 74. The

        allegations in sentences two through four of paragraph 74 state legal conclusions

        that require no response. They also characterize West Virginia v. EPA, 142 S. Ct.

        2587 (2022), a Supreme Court case that speaks for itself and is the best evidence of

        its contents. To the extent a response is required, to the allegations in sentences two

        through four and the allegations are inconsistent with West Virginia, Defendants

        deny the allegations. Defendants deny the remaining allegations in paragraph 74.

        C.     Claim Three: The Final Rule intrudes on Plaintiffs’ sovereignty, in
               violation of the APA, the Tenth Amendment, and the Commerce Clause
               to the U.S. Constitution.

75.     Defendants re-state and incorporate by reference its responses set forth in all

        preceding paragraphs as if set forth in full herein.



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76.     The allegations in paragraph 76 characterize 5 U.S.C. § 706(2)(B), which speaks for

        itself and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the statutory provision, Defendants deny the allegations.

77.     The allegations in paragraph 77 characterize the Tenth Amendment of the U.S.

        Constitution and various cases, which speak for themselves and are the best

        evidence of their contents. To the extent the allegations are inconsistent with these

        legal authorities, Defendants deny the allegations.

78.     The allegations in the first and third sentences of paragraph 78 characterize the

        CWA, which speaks for itself and is the best evidence of its contents. To the extent

        the allegations are inconsistent with the Act, Defendants deny the allegations.

        Defendants deny the allegations in the second sentence of paragraph 78.

79.     Defendants deny the allegations in paragraph 79.

        D.     Claim Four: The Final Rule intrudes on Plaintiffs’ due process rights, in
               violation of the APA and the Fifth Amendment.

80.     Defendants re-state and incorporate by reference its responses set forth in all

        preceding paragraphs as if set forth in full herein.

81.     The allegations in paragraph 81 characterize 5 U.S.C. § 706(2)(B), which speaks for

        itself and is the best evidence of its contents. To the extent the allegations are

        inconsistent with the statutory provision, Defendants deny the allegations.

82.     The allegations in paragraph 82 characterize the CWA and the Due Process Clause

        of the Fifth Amendment of the U.S. Constitution, and two cases Grayned v. City of

        Rockford, 408 U.S. 104 (1972) and Baggett v. Bullitt, 377 U.S. 360 (1964), which



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        speak for themselves and are the best evidence of their contents. To the extent the

        allegations are inconsistent with these legal authorities, Defendants deny the

        allegations.

83.     Defendants deny the allegations in paragraph 83.

                                    PRAYER FOR RELIEF

        The allegations in this paragraph characterize and describe Plaintiffs’ requested

relief and do not require a response. To the extent a response is required, Defendants deny

that Plaintiffs are entitled to the requested relief.

                                     GENERAL DENIAL

        If any allegation is not admitted or specifically responded to, Defendants deny that

allegation.

                                           DEFENSES

        1) One or more of Plaintiffs’ claims are not ripe for judicial review.

        2) One or more Plaintiffs have failed to establish their standing under the

           Administrative Procedure Act, 5 U.S.C. § 702, as a “person suffering legal

           wrong because of agency action,” and/or as a person “adversely affected or

           aggrieved by agency action within the meaning of a relevant statute.”

        3) One or more Plaintiffs have failed to establish their standing under Article III of

           the U.S. Constitution.

        4) Plaintiffs have failed to state one or more claims for which relief can be granted.

        5) Defendants reserve the right to assert every affirmative or other defense that

           may be available, including any defenses available under Federal Rules of Civil

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          Procedure 8 or 12.

                                       Respectfully submitted,

                                       TODD KIM
                                       Assistant Attorney General
                                       ENVIRONMENT AND NATURAL
                                       RESOURCES DIVISION

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Erica Zilioli                          Tex. Bar. No. 3835754
U.S. Army Corps of Engineers           SARAH IZFAR, DC Bar No. 1017796; S.D.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 21, 2023, I filed the foregoing using the Court’s CM/ECF

system, which will electronically serve all counsel of record registered to use the CM/ECF system.



                                                            /s/ Hubert T. Lee




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